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JENISE ANGELLA MANGAROO 1:05CR39-004(SS)


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 1:05CR39-004(SS)

JENISE ANGELLA MANGAROO
                                                                USM #11962-017

                                                                Defendant’s Attorney:
                                                                Thomas E. Miller
                                                                101 SE 2nd Place, Suite 112
                                                                Gainesville, FL 32601
___________________________________

                         AMENDED* JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts 1, 8, and 9 of the Second Superseding Indictment on April 27,
2006. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count(s) which
involve(s) the following offense(s):

       TITLE/SECTION                             NATURE OF               DATE OFFENSE
          NUMBER                                  OFFENSE                 CONCLUDED                  COUNT

 18 U.S.C. §§1951 and 2               Conspiracy to Commit Robbery     August 31, 2005                   1
                                      Affecting Interstate Commerce

 18 U.S.C. §§1951 and 2               Robbery Affecting Interstate     August 3, 2005                    8
                                      Commerce

 18 U.S.C. §§ 924(c)(1)(A)            Using or Carrying a Firearm      August 3, 2005                    9
 and 2                                During the Commission of a
                                      Crime of Violence

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.




* Defendant’s original sentence was vacated by the Eleventh Circuit Court of Appeals by a mandate issued on November
28, 2007. See doc. 399. This amended judgment reflects the new sentencing proceeding, and replaces the original
judgment imposed on August 14, 2006 and signed August 25, 2006. See doc. 262.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                               Date of Imposition of Sentence:
                                                               February 12, 2008




                                                               s/ Stephan P. Mickle
                                                               STEPHAN P. MICKLE
                                                               UNITED STATES DISTRICT JUDGE

                                                               Date: February 25, 2008
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-four (24) months as to Count 9 and one (1) day as to Counts 1
and 8, with said terms to run concurrently with each other and consecutively to the term imposed
on Count 9.

The Defendant shall surrender to the United States Marshal at Atlanta, Georgia, or at a designated
institution, for service of sentence on or before March 4, 2008 by 12:00 Noon. Upon return of the
executed judgment, the bond is exonerated.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                              SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of four (4) years as to each of Counts 1, 8, and 9, with said terms to run concurrently and with
credit for time served on previous term of probation.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;
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11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;
12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised release:

1.        The defendant shall not own or possess a firearm, dangerous weapon or other destructive device.

2.        The defendant shall participate in the home confinement program, with electronic monitoring, for a
          period of one (1) year, with the cost of electronic monitoring to be paid by the defendant. Credit shall
          be given for the defendant’s participation in the program in service of her previous term of probation.

3.        The defendant shall participate in a program of drug and/or alcohol testing, treatment and counseling,
          which may also include in-patient drug treatment. The administrative supervision of such treatment
          shall be as directed by your probation officer.

4.        The defendant shall remain gainfully employed or continue with her education while under
          supervision. The defendant shall make a good faith effort to complete her college education.

5.        The defendant shall submit all financial information, both business and personal, to the U.S. Probation
          Officer.

6.        The defendant shall pay restitution in monthly installments of not less than $200.00.

7.        The defendant shall complete 500 hours of community service work as directed by the U.S. Probation
          Officer. Credit shall be given for community service hours completed from defendant’s previous term
          of probation.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.



          Defendant                                                        Date



          U.S. Probation Officer/Designated Witness                        Date
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                                     CRIMINAL MONETARY PENALTIES

         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                      Restitution
               $300.00*                                      None                       $34,171.00



                                   SPECIAL MONETARY ASSESSMENT

     *A special monetary assessment of $300.00 was paid in full on August 28, 2006.

                                                             FINE

                                                     No fine imposed.


                                                      RESTITUTION

                          Restitution in the amount of $34,171.00 is imposed.

The defendant shall make restitution to the following victims in the amounts listed below.


                                                           Total Amount                 Amount of
             Name of Payee                                    of Loss               Restitution Ordered

 Advance America Cash Advance                                        $7,712.00                     $7,712.00

 Florida Cash Advance                                               $20,347.00                    $20,347.00

 First American Cash Advance                                         $3,292.00                     $3,292.00

 Nations Quick Cash                                                  $2,300.00                     $2,300.00

 All-N-One Check Advance                                              $520.00                        $520.00
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       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the
defendant the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in
the Statement of Reasons page.

          The restitution as to First American Cash Advance and Nations Quick Cash
          is jointly and severally owed with co-defendants S.T. Vaughn III; Gerald
          Jerome Raymond; Keara Nikyela Johnson; and Ashlie Ebony Mothersill.

          All other restitution amounts are jointly and severally owed with co-defendants
          S.T. Vaughn III; Gerald Jerome Raymond; and Iren Cergio Rainey.


The Court has determined that the defendant does not have the ability to pay interest. It is
ORDERED that: In the interest of justice, interest on restitution is hereby waived.



                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.
